                   Case 2:21-cv-01153-BJR Document 27 Filed 10/06/21 Page 1 of 4



 1                                                    THE HONORABLE BARBARA J. ROTHSTEIN

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 6                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7

 8                                                           No. 2:21-cv-1153-BJR
     RANDALL NORRIS and MISTY NORRIS on
 9   behalf of themselves and all others similarly
     situated,                                               STIPULATION AND SECOND ORDER
                                                             TO EXTEND TIME TO ANSWER
10                                                           COMPLAINT
                      Plaintiffs,
11            v.
12   T-MOBILE USA, INC.,

13                    Defendant.

14

15
              Under Western District of Washington Local Rule 7(d)(1) and 10(g), Plaintiffs Randall and
16
     Misty Norris and Defendant T-Mobile USA, Inc., (together the “Parties”) stipulate that T-Mobile’s
17   deadline to answer or otherwise respond to the Complaint in this action is continued until 14 days
18   after the Judicial Panel on Multidistrict Litigation (“JPML”) rules on the pending motion to

19   transfer related cases for coordinated or consolidated pretrial proceedings under 28 U.S.C. § 1407.

     See In re T-Mobile Customer Data Sec. Breach Litig., MDL Docket No. 3019 (J.P.M.L. filed Aug.
20
     23, 2021) (ECF No. 1).
21
              Good cause exists for this extension because the plaintiffs in another case, Daruwalla v. T-
22
     Mobile USA, Inc., No. 2:21-cv-1118 (W.D. Wash., filed Aug. 19, 2021), filed the transfer motion
23
     and identified this case, and numerous others, as related cases that should be transferred. See In re
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                   Case 2:21-cv-01153-BJR Document 27 Filed 10/06/21 Page 2 of 4



 1   T-Mobile, MDL Docket No. 3019 (ECF Nos. 1, 2, 8-1, 11, 20, 48, 62, 65). The extension will

 2   conserve judicial resources by allowing T-Mobile to assess the pending JPML motion, continue

     discussions with Plaintiffs’ counsel here and counsel in the related cases, and know which district
 3
     court’s local rules will control this case before responding to Plaintiffs’ Complaint.
 4

 5                                                 Dated: October 5, 2021

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                   Case 2:21-cv-01153-BJR Document 27 Filed 10/06/21 Page 4 of 4



 1                                             ORDER

 2   IT IS SO ORDERED.

     Dated this 6th day of October 2021.
 3

 4
                                                          s/Barbara J. Rothstein
 5                                                        Barbara J. Rothstein
                                                          U.S. District Court Judge
 6

 7   Presented by:
 8   /s/ Steve Y. Koh
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